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Attorneys for Plaintiffs



                           UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION

JOHN DOE #1; JUAN RAMON MORALES;               Case No.: 3:19-cv-01743-SB
JANE DOE #2; JANE DOE #3; IRIS
ANGELINA CASTRO; BLAKE DOE;
BRENDA VILLARRUEL; and LATINO
NETWORK,

                            Plaintiffs,

       v.                                      DECLARATION OF BLAKE DOE IN
                                               SUPPORT OF PLAINTIFFS’ MOTION
                                               FOR A PRELIMINARY INJUNCTION

DONALD TRUMP, in his official capacity as
President of the United States; U.S.
DEPARTMENT OF HOMELAND
SECURITY; KEVIN MCALEENAN, in his
official capacity as Acting Secretary of the
Department of Homeland Security; U.S.
DEPARTMENT OF HEALTH AND
HUMAN SERVICES; ALEX M. AZAR II, in
his official capacity as Secretary of the
Department of Health and Human Services;
U.S. DEPARTMENT OF STATE;
MICHAEL POMPEO, in his official capacity
as Secretary of State; and UNITED STATES
OF AMERICA,

                            Defendants.
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I, Blake Doe, declare as follows:

     1. I am a United States citizen. I was born in Portland, Oregon.
     2. I currently live in Corvallis, Oregon, with my wife, where I am a college senior at
Oregon State University studying civil engineering.
     3. I have lived my whole life in Oregon. I grew up with my mother and father in
Tualatin and the Portland area. I lived with them up until I went to college. I plan to begin
my job search after graduation.
     4. My parents are really amazing people, and I aspire to hold and share the values of
compassion, hard work, and responsibility that they have instilled in me. My father, who
is        years old, and my mother, who is   years old, currently reside in Oregon. They are
citizens of Mexico. Because of their sacrifices, I will be the first person in my family to
graduate from college. I anticipate graduating in June 2020.
     5. I have health insurance through my university, and I also have dental insurance
through my wife who works full time. I intend to apply for insurance through the Oregon
Health Plan after I graduate. I cannot enroll in my wife’s employer plan because it is
prohibitively expensive for me.
     6. I am seeking to permanently unify my family together here in Oregon because
this is where I am from. I love my parents. We are a strong and proud family, and I want
to be together with them. I filed petitions for my parents in order to regularize their status.
     7. I applied for my parents to come to the United States on or around April 27, 2017.
The I-I30 petitions were approved on or around January 17, 2018. On June 11, 2019, the
USCIS determined that my members of my family would suffer an extreme hardship if
visas were denied to my parents and, therefore, approved an I-601A extreme hardship
waiver in order to enable my parents to complete the immigration process.
     8.    Since then, my parents have submitted all the necessary documents and
information to proceed with the immigrant visa process and are awaiting the scheduling
of the interview at the American Consulate in Ciudad Juarez, Mexico. According to my
lawyer, the interview could happen at any time.

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   9.    They had been waiting the interview when they received news of the October 4
Presidential Proclamation detailing the ban on their entry unless they will be covered by
approved health insurance within 30 days of their entry into the United States, or unless
they possesses the financial resources to pay for reasonably foreseeable medical costs.
   10. I have looked at what is considered approved health insurance under the
President’s Proclamation and the plans are either not available to my parents or are
unaffordable due to my family’s current financial situation. For example, Medicare is not
available to my parents and none of our family members can add our parents onto an
approved plan.
   11. My parents’ sacrifices have not come without cost—both to them and to me. My
mother’s health has declined recently. She has rheumatoid arthritis and Lupus
Erythematosus – both painful conditions. She receives some treatment that she pays for
out of pocket. The treatments are necessary to enable her to live without pain. It isn’t
comprehensive treatment though. She has tried to get insurance, but she has been told she
is ineligible because of her immigration status. My father has repeatedly tried to obtain
insurance for her. His employer does not offer a health insurance plan. She would be
better off with comprehensive treatment which could address the underlying causes of her
conditions and improve her health instead of just controlling for pain.
   12. I reviewed the list of “approved” health care plans that are listed on the
Proclamation. As a full-time student in college, I have no income and cannot afford
health insurance for my parents. I also cannot afford all the costs for their foreseeable
medical care. I cannot add my parents to my student insurance plan. I also have around
$20,000 worth of student loan debt. I am not a member of the U.S. military so I cannot
get health care for my parents under the military plan. My parents are not eligible for
visitor health insurance because they are already residing in the United States.
   13. I understand that under the new Proclamation, the process I began for them will
be indefinitely stopped. As I understand, when the interview at the consulate is
scheduled, my parents will have to attend in order to complete the process for their
immigrant visas. However, because they are not eligible for any of the approved plans
and they cannot afford their foreseeable medical costs without insurance, under the
Proclamation they will be refused a visa. My mother and father would then be stranded in
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Mexico far away from their family here in Oregon. The separation will have real impacts
on me and others in my family, including my parents. I am also very concerned about my
mother’s ability to obtain the necessary pain treatments. The hardship my family would
face is real. I’ve attached redacted copies of the approval notices for the I-601A
provisional waivers that USCIS approved for my parents.
    14. I understand that my parents will not be able to complete the immigration process,
they will continue to live in fear and under the threat of removal proceedings being
initiated against them, and I will continue to live in fear every day of permanent
separation. This fear has very real tangible impacts on me and my parents such as causing
constant worry and feelings of depression. I worry that one day I might call my parents
and they won’t pick up because they’ve been detained by ICE.
    15. If my parents leave for their consular interview and have their visa refused, it
would automatically revoke their waiver and they could face a ten-year bar to re-entering
the United States. At the very least, they would have to re-apply for a waiver, which
could take a year or more to be approved.
    16. I am willing to serve as a class representative on behalf of those who are similarly
situated to me and cannot have family members join them in the United States because of
the current restrictions.
    17. I know that if the class is certified I will be representing more than just myself in
this case. I have spoken with the lawyers who represent me about what being a class
representative means. I want to help everyone in my situation because we are all
suffering due to the unfair restrictions on admissions imposed by this Administration.

        I declare under penalty of perjury under the laws of the United States of America

 that the foregoing is true and correct.

        Executed on November 7, 2019 at Corvallis, Oregon.




                                                                   “Blake Doe”



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